                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


 LEWIS C. CAIN,                              )
                                             )
       Plaintiff,                            )
                                             )
 v.                                          )    NO. 3:18-cv-00521
                                             )
 CITY OF MT. JULIET,                         )
                                             )
       Defendant.                            )

                                         ORDER
      The parties have filed a Joint Stipulation of Dismissal with Prejudice (Doc. No. 115).

Accordingly, this action is DISMISSED WITH PREJUDICE, and the Clerk is directed to close

the file. Any pending Motions are DENIED as MOOT.

      IT IS SO ORDERED.



                                         ____________________________________
                                         WAVERLY D. CRENSHAW, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE




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